       Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 1 of 10




GUZZARDO & ASSOCIATES LLC
Joseph P. Guzzardo, Esq.
PA Id. 95089
121 S. Broad St. Suite 1600
Philadelphia, PA 19107
jguzzardo@guzzardolaw.com
Attorneys for Plaintiff

                      IN THE UNITED STATES DISTRICT COURT
                     FOR EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
ANDREW TOBIN                                 :
                                             :       CIVIL ACTION
                      Plaintiff,             :       No.
       v.                                    :
                                             :
                                             :
TROOPER MAX SEILER                           :
                                             :
       And                                   :
                                             :
JOHN DOE STATE TROOPERS 1-5                  :
                                             :
       And                                   :
                                             :
JOHN DOE SUPERVISORS 1-5                     :
                                             :
In their individual and official capacities, :
                                             :
                      Defendants.            :
__________________________________________:

                                    I. INTRODUCTION

1.   This action for declaratory, injunctive and other appropriate relief is brought by Plaintiff

     Andrew Tobin to redress the intentional violations by and other of the rights secured to

     him by the laws of the United States of America that occurred on July 8, 2020; on that

     date, Defendant State Troopers, after Mr. Tobin voluntarily laid on the ground in

     surrender, savagely beat Mr. Tobin, handcuffed his hands behind his back and escorted

     him to a six (6) foot high fence whereupon Defendants lifted Mr. Tobin to the top of the
       Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 2 of 10




     fence and intentionally and maliciously threw him over the opposite side, fracturing his

     pelvis.

                                     II. JURISDICTION

2.   Jurisdiction is conferred upon this court by the Fourth, Fifth and Fourteenth Amendments

     of the Constitution of the United States and 42 U.S.C. § 1983 which provide original

     jurisdiction for Plaintiff’s claims.

3.   Jurisdiction over the state law claims is based on the principles of supplemental

     jurisdiction, as codified at 28 U.S.C. § 1367.

4.   The amount in controversy exceeds one hundred thousand dollars ($100,000).

                                            III. VENUE

5.   All actions complained of herein have taken place within the jurisdiction of the United

     States District Court for the Eastern District of Pennsylvania and involve Defendants who

     reside within the jurisdictional limits. Venue is accordingly invoked pursuant to the

     dictates of 28 U.S.C. § 1391(b) and (c).

                                            IV. PARTIES

6.   Plaintiff is an individual residing at 165 Maine Street in Wernsville, PA 19565

7.   Defendant, Max Seiler, is Pennsylvania State Trooper with Troop L, having barracks

     located at 600 Kenhorst Blvd., Reading, PA 19611.

8.   John Doe State Troopers 1-5 are Pennsylvania State Troopers with Troop L, having

     barracks located at 600 Kenhorst Blvd., Reading, PA 19611.

9.   John Does State Trooper Supervisors are Pennsylvania State Trooper Supevisors with

     Troop L, having barracks located at 600 Kenhorst Blvd., Reading, PA 19611.
        Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 3 of 10




                                              V. FACTS

14.   On July 8, 2020, at approximately11:30 a.m., Plaintiff was legally operating a 2007 Ford

      Taurus on Mount Laurel Road at or near its intersection with Blandon Road in Berks

      County. Plaintiff had one passenger in the vehicle with him at the relevant time.

15.   On the same above date, time and location, Defendant State Trooper, Max Seiler, was

      working within the course and scope of employment, under color of state law, operating

      an unmarked State police vehicle.

16.   According to Defendant Seiler’s affidavit of probable cause, he determined that

      Plaintiff’s vehicle registration had expired thirty eight (38) days prior on May 31st and

      thereafter sought to conduct a traffic stop of Plaintiff’s vehicle.

17.   According to Defendant Seiler’s affidavit of probable cause, he activated his emergency

      lights and siren to signal Plaintiff to pull over.

18.   At the relevant time, Plaintiff had on his person an unregistered and unlicensed firearm.

19.   Realizing that his possession of the firearm may subject him to arrest, Plaintiff panicked

      and attempted to evade Defendant Seiler.

20.   A vehicle pursuit ensued ending when a third party motorist struck Plaintiff’s vehicle.

      Plaintiff was not injured whatsoever as a result of the crash.

21.   Still panicked and frightened of arrest, Plaintiff exited his vehicle near a residence located

      at 302 Hartz Road in Ruscombmanor Township, Berks County.

22.   Plaintiff sprinted away from his vehicle for some distance, jumped over an approximately

      six (6) foot high fence and ran a few more yards before he came to terms with his poor
        Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 4 of 10




      decision and voluntarily laying down on the ground with his hands above his head to

      surrender to pursuing Defendant John Doe State Troopers and Trooper Seiler.

23.   While lying on the ground, Plaintiff verbally advised Defendants of his location and that

      he was not and would not resist arrest. Plaintiff posed no threat to Defendants and was

      not in any position to flee due to his location vis a vis Defendant Troopers.

24.   Defendant Troopers, including Seiler, approached Plaintiff as he lay on the ground in a

      supine position and handcuffed Plaintiff’s hands behind his back without struggle.

25.   Once Plaintiff’s hands were secure, Defendant troopers, including Seiler, repeatedly

      struck Plaintiff with theirs knees and fists, causing Plaintiff to suffer multiple contusions

      and abrasions.

26.   Defendant troopers, including Seiler, thereafter stood Plaintiff up and escorted him back

      in the direction they came until they arrived at the above referenced fence.

27.   Defendants could have easily escorted Plaintiff around the fence and/or sought to exit via

      gate, but instead forcefully shoved Plaintiff into a fence pole.

28.   Realizing that Defendants had no intention of exiting the fence area with Plaintiff via

      walking, Plaintiff commented that Defendants probably should not have handcuffed his

      arms behind his back if they intended to exit in the same manner they entered – ie., by

      climbing the fence.

29.   Defendant Seiler then stated to Plaintiff, “Don’t worry about that, we are professionals at

      getting handcuffed people over fences.” Seiler was communicating to Plaintiff that he

      and his fellow troopers customarily tossed arrested and handcuffed citizens over fences as

      a matter of course and policy with malicious intent.
        Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 5 of 10




30.   Moments later, Defendant Seiler and another John Doe Trooper threw Plaintiff over the

      fence with complete understanding that Plaintiff could not break his fall due his hands

      being cuffed behind his back.

31.   Plaintiff struck the ground with such force that he fractured his pelvis necessitating

      immediate emergency surgical repair.

32.   At no point to John Doe State Troopers attempt to dissuade or stop Seiler and the other

      Trooper from throwing Plaintiff over the fence.

33.   Plaintiff was transported via ambulance to Reading Hospital and Medical Center

      whereupon he was treated for his injuries.

34.   While at the hospital, Defendant Seiler and John Doe State Troopers attempted to cover

      up their outrageous and malicious assault of Plaintiff by telling Plaintiff’s treating

      physicians that Plaintiff’s injuries were the result of the auto accident. In response, the

      treating physician retorted that Plaintiff never would have been able to sprint from his

      vehicle and leap over a fence with a severely fractured pelvis.

                             COUNT I
PLAINTIFF V. DEFENDANT MAX SEILER AND JOHN DOE STATE TROOPERS 1-5
VIOLATION OF THE FOURTH AND FOURTEENTH AMENDMENTOF THE UNITED
      STATES CONSTITUION under 42 U.S.C. 1983 –Use of Unreasonable force

35.   Plaintiff incorporates by reference herein as though recited verbatim at length the

      allegations of the preceding paragraphs.

36.   The Defendant State Troopers’ treatment of plaintiff was without provocation and

      unreasonable, and was as a direct result of custom, policy, and practice instituted by John

      Does State Trooper Supervisors.
         Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 6 of 10




37.    At all relevant times, the Defendant State Trooper were acting under color of state law

       and knew that their conduct was objectively unreasonable, deliberately indifferent,

       sadistic and malicious.

38.    As the direct and proximate result of the Defendant State Trooper’s actions as described

       herein, each of them committed under color of state law under their authority of the

       Commonwealth of Pennsylvania, plaintiff sustained grievous bodily harm and was

       deprived of his right to be secure in his person, against unreasonable seizure of his person

       and the use of excessive force, in violation of the Fourth and Fourteenth Amendments to

       the Constitution of the United States and 42 U.S.C. §1983.

39.    As the direct and proximate result of the aforesaid unlawful and malicious physical abuse

       of plaintiff by Defendant State Troopers, plaintiff suffered severe and permanent injuries

       and damages including, but not limited to, fractured pelvis requiring reconstructive

       surgery, contusions, abrasions, , severe post-traumatic stress, severe bruising throughout

       his body, several lacerations on his face, as well as multiple other injuries, causing

       plaintiff great pain, anguish, fear and consternation. Additionally, plaintiff has suffered

       special damages in the form of medical expenses, lost wages, diminished future earning

       capacity, and will suffer additional special damages in the future in amounts which have

       not yet been determined.

WHEREFORE, Plaintiff respectfully requests this Honorable Court:

              a.      Enter a declaratory judgment that Defendants’ acts complained of herein

                      have violated and continue to violate the rights of Plaintiff.

              b.      Award Plaintiff compensatory damages including but not limited to: pain,

                      suffering, past economic loss, future economic loss, back pay, front pay,
        Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 7 of 10




                     loss of life’s pleasures, loss of reputation, benefits, emotional distress and

                     other damages;

             c.      Award reasonable costs and attorneys’ fees;

             d.      Award punitive damages; and

             e.      Grant any other relief this Court deems just and proper under the

                     circumstances.


                            COUNT II
PLAINTIFF V. DEFENDANT MAX SEILER AND JOHN DOE STATE TROOPERS 1-5

              CONSPIRACY TO VIOLATE CIVIL RIGHTS, 42 USC 1983

40.   Plaintiff incorporates by reference herein as though recited verbatim at length the

      allegations of the preceding paragraphs.

41.   Defendants conspired to violate Plaintiffs’ civil rights, as set forth above.

42.   The above actions of the defendants were as a result of the policies, practices and/or

      customs as created and furthered by Defendant John Doe Supervisors 1-5.

43.   The actions of Defendants aforesaid constitute conspiracy to use excessive force to arrest

      Plaintiff in violation of Plaintiffs’ Fourth and Fourteenth Amendment rights.

      WHEREFORE, Plaintiff respectfully requests this Honorable Court:

             a.      Enter a declaratory judgment that Defendants’ acts complained of herein

                     have violated and continue to violate the rights of Plaintiff.

             b.      Award Plaintiff compensatory damages including but not limited to: pain,

                     suffering, past economic loss, future economic loss, back pay, front pay,

                     loss of life’s pleasures, loss of reputation, benefits, emotional distress and

                     other damages;
        Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 8 of 10




             c.      Award reasonable costs and attorneys’ fees;

             d.      Award punitive damages; and

             e.      Grant any other relief this Court deems just and proper under the

                     circumstances.

                               COUNT III
          PLAINTIFF V. DEFENDANT JOHN DOE STATE TROOPERS 1-5

      BYSTANDER LIABILITY/FAILURE TO INTERVENE under 42 USC 1983

44.   Plaintiff incorporates by reference herein as though recited verbatim at length the

      allegations of the preceding paragraphs.

45.   Defendant John Doe State Troopers 1-5 had a realistic and reasonable opportunity to stop

      other State Troopers from throwing the handcuffed Plaintiff over a chain link fence and

      simply refused to do so as set forth above.

      WHEREFORE, Plaintiff respectfully requests this Honorable Court:

             a.      Enter a declaratory judgment that Defendants acts complained of herein

                     have violated and continue to violate the rights of Plaintiff.

             b.      Award Plaintiff compensatory damages including but not limited to: pain,

                     suffering, past economic loss, future economic loss, back pay, front pay,

                     loss of life’s pleasures, loss of reputation, benefits, emotional distress and

                     other damages;

             c.      Award reasonable costs and attorneys’ fees;

             d.      Award punitive damages; and

             e.      Grant any other relief this Court deems just and proper under the

                     circumstances.
         Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 9 of 10




                                           COUNT IV

   PLAINTIFF V. DEFENDANT JOHN DOE STATE TROOPER SUPERVISORS 1-5

     FAILURE TO TRAIN and CREATION OF UNCONSTITIONAL POLICY AND
                     CUSTOM in violation of Section 1983

       46.     Plaintiff incorporates by reference herein as though recited verbatim at length the

       allegations of the preceding paragraphs.

       46.     As Defendant Seiler stated to Plaintiff, it was customary for State Troopers to

throw handcuffed suspects over fences in lieu of other means of navigation.

       47.     Seiler’s statement is direct evidence of a pattern and practice at the Reading PA

State Trooper barracks.

       48.     Furthermore, Seiler’s statement is direct evidence of an intentional lack of

training and/or punishment of such conduct by Defendant Supervisors.

       49.     By extension, it is clear that Defendant John Doe Supervisors 1) knew of a prior

pattern of similar incidents or circumstances and (2) acted in a manner than reasonably could be

found to communicate a message of approval to the subordinate.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court:

               a.     Enter a declaratory judgment that Defendants acts complained of herein

                      have violated and continue to violate the rights of Plaintiff.

               b.     Award Plaintiff compensatory damages including but not limited to: pain,

                      suffering, past economic loss, future economic loss, back pay, front pay,

                      loss of life’s pleasures, loss of reputation, benefits, emotional distress and

                      other damages;

               c.     Award reasonable costs and attorneys’ fees;

               d.     Award punitive damages; and
        Case 5:22-cv-02669-EGS Document 1 Filed 07/08/22 Page 10 of 10




               e.     Grant any other relief this Court deems just and proper under the

                      circumstances.


                              JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.

                                       Respectfully submitted,

                                       /s/ Joseph P. Guzzardo, Esq.
                                       Joseph Guzzardo, Esq.
                                       Guzzardo & Associates LLC
                                       121 S. Broad St, Suite 1600
                                       Philadelphia, PA 19107
                                       215-718-6691
                                       Jguzzardo@guzzardolaw.com
July 8, 2022
